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 5
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 6 United States of America

 7
                                    IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00412 TLN
11
                                      Plaintiff,          STIPULATION TO CONTINUE JUDGMENT AND
12                                                        SENTECING HEARING; ORDER
                              v.
13
     EMILIO BARBA,
14
                                      Defendant.
15

16
                                                   STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant Emilio
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     Barba, by and through his counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for a judgment and sentencing hearing on October
20
     19, 2017.
21
            2.       By this stipulation, the parties jointly move the Court to continue the judgment and
22
     sentencing hearing to November 2, 2017.
23
            3.       Because the defendant stands convicted by way of his change of plea, the provisions of
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     the Speedy Trial Act, 18 U.S.C. § 3161, et seq., do not apply to this stipulation and the continuance of
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     the date for judgment and sentencing.
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     Stipulation for Continuance of Judgment and          1
     Sentencing
              Case 2:13-cr-00412-TLN Document 132 Filed 10/11/17 Page 2 of 2


 1          IT IS SO STIPULATED.

 2 DATED: October 10, 2017                               PHILLIP A. TALBERT
                                                         United States Attorney
 3
                                                         /s/ Todd A. Pickles
 4                                                       TODD A. PICKLES
                                                         Assistant United States Attorney
 5
                                                         For the UNITED STATES OF AMERICA
 6

 7
     DATED: October 10, 2017                             /s/ Todd A. Pickles for
 8                                                       DANNY BRACE, ESQ.

 9                                                       For defendant EMILIO BARBA

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11
                                                   ORDER
12
            For the reasons set forth in the parties’ stipulation and for good cause showing, the Court hereby
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     ADOPTS the parties’ stipulation and orders that the judgment and sentencing hearing in this matter be
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     continued to November 2, 2017 at 9:30 a.m. The dates for submission of all informal and formal
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     objections and sentencing memoranda shall be reset based on the new hearing date.
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            IT IS SO ORDERED this 10th day of October, 2017.
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21                                                       HONORABLE TROY L. NUNLEY
                                                         UNITED STATES DISTRICT JUDGE
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     Stipulation for Continuance of Judgment and         2
     Sentencing
